Case 1:14-cv-02887-JLK-MEH Document 118 Filed 02/14/18 USDC Colorado Page 1 of 2




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No. 14-cv-02887-JLK

  ALEJANDRO MENOCAL,
  MARCOS BRAMBILA,
  GRISEL XAHUENTITLA,
  HUGO HERNANDEZ,
  LOURDES ARGUETA,
  JESUS GAYTAN,
  OLGA ALEXAKLINA,
  DAGOBERTO VIZGUERRA, and
  DEMETRIO VALEGRA,
  on their own behalf and on behalf of all others similarly situated,

         Plaintiff(s),

  v.

  THE GEO GROUP, INC.,

         Defendant(s).


                                     ENTRY OF APPEARANCE


  To the clerk of court and all parties of record:

         I hereby certify that I am a member in good standing of the bar of this court, and I appear

  in this case as counsel for:   Plaintiffs      .

         DATED at Denver, Colorado this 14th day of February, 2018

                                                        /s/ Rachel W. Dempsey
                                                        Outten & Golden LLP
                                                        One Embarcadero Center, 38th Floor
                                                        San Francisco, CA 94111
                                                        Telephone: (415) 638-8800
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Case 1:14-cv-02887-JLK-MEH Document 118 Filed 02/14/18 USDC Colorado Page 2 of 2




                                 CERTIFICATE OF SERVICE

  I hereby certify that on this 14th day of February, 2018. I electronically filed the foregoing
  document with the Clerk of the Court through the Court’s CM/ECF system. Notice of this filing
  will be sent by email to all parties by operation of the Court’s electronic filing system or by mail
  to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing.
  Parties may access this filing through the Court’s CM/ECF System.


                                                   /s/ Rachel W. Dempsey
                                                   Outten & Golden LLP




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